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UNITED STATES DISTRJCT COURT
SOUTHERN DISTRJCT OF NEW YORK
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UNITED STATES OF AMERJCA,                                            23-Cr-490 (SHS)

                  -v-                                                ORDER

ROBERT MENENDEZ, ET AL.

                                   Defendant.

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SIDNEY H. STEIN, U.S. District Judge.

        IT IS HEREBY ORDERED that the parties are directed to respond to the letter filed by
Inner City Press [Doc. No. 125] and the letter filed by The New York Times [Doc. No. 145] on or
before January 22, 2024.


Dated: New York, New York
       January 17, 2024

                                                     SO ORDERED:
